            Case 6:17-cv-02051-AC        Document 25    Filed 10/21/20    Page 1 of 1




                          IN THE UNITED STATES DISTRICT COURT

                              FOR THE DISTRICT OF OREGON

RANDY McCORMICK,
                                                                   Case No. 6:17-cv-02051-AC
                Petitioner,
                                                                                        ORDER
       v.

GARRETT LANEY, Superintendent,
Oregon State Correctional Institution,

                Respondent.

ACOSTA, Magistrate Judge.

       IT IS ORDERED that respondent’s Unopposed Motion to Dismiss (Mootness) (ECF No. 24)

is GRANTED. Petitioner’s August 20, 2020, release from prison to community supervision mooted

his challenge to the Oregon Board of Parole and Post-Prison Release’s February 2016 decision

denying him release on parole at that time, and petitioner does not oppose respondent’s motion.

Accordingly, this action is DISMISSED with prejudice.

       IT IS SO ORDERED.

       DATED this 21st day of October, 2020.


                                             /s/ John V. Acosta
                                             John V. Acosta
                                             United States Magistrate Judge


1 - ORDER
